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                         United States District Court
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 KATHLEEN BENJAMIN




                                             OD
                                             COD
 v.




                                             COD
                                             CO?
 MEDISCA INC., MEDISCA




                                             CO?
 PHARMACEUTICAL COMPANY,                               CIVIL ACTION NO. 3:23-CV-2321-S-BT




                                             CO?
 MEDISCA PHARMACEUTIQUE




                                             CO?
 INC., RENEE WALKER, RANDSTAD




                                             CO?
 OPERATIONAL TALENT,



                                             CO?
 RANDSTAD US, LLC, and

                                             CO?
 RANDSTAD NORTH AMERICA,
                                             CO?
 INC.                                        COP



      ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case. No objections were filed. The Court reviewed the proposed findings, conclusions, and

recommendation for plain error. Finding none, the Court ACCEPTS the Findings, Conclusions,

and Recommendation of the United States Magistrate Judge.

        SO ORDERED.

        SIGNED February 18, 2025.



                                                       Kihrwig—
                                                     UNITED STATES DISTRICT JUDGE
